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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 CHRISTINE BRYANT on behalf of herself              )
 and all other persons similarly situated, known    )
 and unknown,                                       )
                                                    )
               Plaintiff,                           )      Case No. 1:19-cv-06622
                                                    )
       vs.                                          )      Honorable Virginia M. Kendall
                                                    )
 COMPASS GROUP USA, INC.                            )
                                                    )
       Defendant.                                   )

                               JOINT NOTICE OF SETTLEMENT

       The parties, by their undersigned attorneys, notify the Court that they have reached an

agreement in principle to settle the above-captioned putative class action. As a result, the parties

request that the Court vacate the discovery deadline of May 28, 2021. ECF No. 57. The parties

also request that the Court maintain the existing status hearing set for June 2, 2021 at 9:00 a.m.

Id. At that status hearing, the parties will inform the Court about their plan to obtain contact

information for proposed settlement class members and seek preliminary approval of the

settlement.



Dated: May 26, 2021                                Respectfully submitted,

/s/ Zachary C. Flowerree                           /s/ Joseph C. Wylie II (with consent)
One of Plaintiff’s Attorneys                       One of Defendant’s Attorneys

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